    Case 1:01-cv-12257-PBS Document 6528-82 Filed 09/22/09 Page 1 of 5




                               Exhibit 81



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
        Case 1:01-cv-12257-PBS Document 6528-82 Filed 09/22/09 Page 2 of 5
30(b)(6) Cigna (Walker, Paula Sue)                                 March 12, 2008

                                                                               Page 1
               UNITED STATES DISTRICT COURT

             FOR THE DISTRICT OF MASSACHUSETTS



    IN RE:   PHARMACEUTICAL   )MDL NO. 1456

    INDUSTRY AVERAGE          )

    WHOLESALE PRICE           )CIVIL ACTION:

    LITIGATION                )01-CV-12257-PBS

                              )

    THIS DOCUMENT RELATES TO)

    U.S. ex rel. Ven-A-Care )

    of the Florida Keys,      )

    Inc. v. Abbott            )

    Laboratories, Inc., et    )

    al. No. 06-CV-11337-PBS )

    ________________________)




                 VIDEOTAPED 30(B)(6) DEPOSITION OF:

                 CIGNA (PAULA SUE WALKER)

                 Taken on Behalf of the Defendants

                 March 12, 2008




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202-220-4158                                     www.hendersonlegalservices.com

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30(b)(6) Cigna (Walker, Paula Sue)                                 March 12, 2008

                                                                               Page 2
  1
                               The videotaped deposition of
  2
       PAULA SUE WALKER, taken on behalf of the
  3
       defendants, on the 12th day of March, 2008, in
  4
       the Law Offices of Neal & Harwell, U.S. Bank
  5
       Tower, Suite 1900, 150 Fourth Avenue, North,
  6
       Nashville, Tennessee, for all purposes under the
  7
       Tennessee Rules of Civil Procedure.
  8
                               The formalities as to notice,
  9
       caption, certificate, et cetera, are waived.
 10
       All objections, except as to the form of the
 11
       questions, are reserved to the hearing.
 12
                               It is agreed that Katherine Gale
 13
       being a Notary Public and Court Reporter for the
 14
       State of Tennessee, may swear the witness and
 15
       that the reading and signing of the completed
 16
       deposition by the witness are not waived.
 17

 18

 19

 20

 21

 22




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                                                                           Page 207
  1
               Q.     Did you have any -- prior to 2004, did
  2
       you have any belief as to what the average
  3
       wholesale prices in the Red Book represented?
  4
               A.     Average wholesale price.
  5
               Q.     Did you have any understanding that
  6
       those AWP numbers were totally fictional?
  7
                      MS. GIULIANA:          Objection.
  8
                      MR. HECK:       Objection.
  9
                      MR. HALE:       Objection.
 10
                      THE WITNESS:         No.
 11
       BY MR. HENDERSON:
 12
               Q.     Did you have any understanding that
 13
       those AWP numbers were the figment of someone's
 14
       imagination?
 15
                      MS. GIULIANA:          Objection.
 16
                      MR. HALE:       Objection.
 17
                      MR. HECK:       Objection.
 18
                      THE WITNESS:         No.
 19
       BY MR. HENDERSON:
 20
               Q.     Did you have a belief as to whether or
 21
       not they were based on real prices?
 22
               A.     I took it for what it was worth.

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30(b)(6) Cigna (Walker, Paula Sue)                                 March 12, 2008

                                                                           Page 208
  1
                      MS. GIULIANA:        Objection.
  2
      BY MR. HENDERSON:
  3
               Q.     Did you have any knowledge prior to 2004
  4
      that any manufacturers were intentionally reporting
  5
      falsely inflated average wholesale prices to the
  6
      Red Book?
  7
                      MS. GIULIANA:        Objection.
  8
                      MR. HALE:      Objection.
  9
                      MR. HECK:      Objection.         Form.
 10
                      MR. HALE:      And to foundation.
 11
                      THE WITNESS:        No.
 12
      BY MR. HENDERSON:
 13
               Q.     Did you have any knowledge -- I'm sorry.
 14
                      Did you have any awareness of whether or
 15
      not anybody at Cigna had approved of manufacturers
 16
      reporting falsely inflated prices to the Red Book?
 17
                      MR. HALE:      Same objection.
 18
                      MR. HECK:      Objection.         Form and
 19
      foundation.
 20
                      THE WITNESS:        No.
 21
                      MR. HENDERSON:         Can we agree that if one
 22
      defense counsel objects, that is covered by all

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